                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
         vs.                                       )      No. 16-03077-01-CR-S-BCW
                                                   )
LAURA BROWN,                                       )
                                                   )
                          Defendant.               )


                         ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION OF GUILT


         Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Superseding Indictment filed on November 1, 2016, is now Accepted and the

Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the

Court.




                                                         /s/ Brian C. Wimes
                                                         BRIAN C. WIMES
                                                   UNITED STATES DISTRICT JUDGE




Date: January 24, 2017




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